           CASE 0:20-cv-01630-JRT-BRT Doc. 34 Filed 10/01/20 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 Peakspeed, Inc.
                                                     Civil File No. 0:20-cv-01630-JRT-BRT
                         Plaintiff,
                                                      DECLARATION OF TIMOTHY
 v.                                                    EMERSON IN SUPPORT OF
                                                         HIS OPPOSITION TO
 Timothy Emerson,                                      PLAINTIFF’S MOTION FOR
                                                       PRELIMINARY INJUCTION
                          Defendant.


      I, Timothy Emerson, declare as follows:

      1. I have personal knowledge of the facts recited herein and if called upon to testify

concerning them under oath I would do so competently.

      2. A true and correct copy of an email I sent on November 8, 2019 to Dave Eaton, Dan

Eaton, Joe Greshik, and Matthew Baldin about my success in getting TrueView to run on an

AWS F1 Instance is being filed as Exhibit 3 to Defendant’s Opposition to Peakspeed’s

Motion for Preliminary Injunction.

      3. A true and correct copy of an email I sent on December 18, 2019 to Dave and Dan

Eaton about AWS Marketplace Registration is being filed as Exhibit 4 to Defendant’s

Opposition to Peakspeed’s Motion for Preliminary Injunction.

      4. True and correct copies the AWS Invoices for the EmersonAI account from March,

April, May, and June 2020 are being attached as Exhibit 9 to Defendant’s Opposition to

Peakspeed’s Motion for Preliminary Injunction.



                                                 1
         CASE 0:20-cv-01630-JRT-BRT Doc. 34 Filed 10/01/20 Page 2 of 4




   5. A true and correct copy of the EmersonAI Sales and Marketing Plan Gantt chart that

was created by David Eaton on November 26, 2019 is being filed as Exhibit 10 to

Defendant’s Opposition to Peakspeed’s Motion for Preliminary Injunction

   6. Below is a true and correct screenshot of from EmersonAI’s AWS account showing

that the current balance of the AWS POC credit is $1,184.30 out of the original $2,500

credit that EmersonAI received as of September 1, 2020:




   7. EmersonAI’s most valuable assets are its intellectual property, which includes the

TrueView and IdentifAI source code.

   8. If the Court grants Peakspeed's preliminary injunction EmersonAI will most likely go

out of business because it will not be able to conduct any business or utilize its intellectual

property to generate revenue.




                                                2
CASE 0:20-cv-01630-JRT-BRT Doc. 34 Filed 10/01/20 Page 3 of 4
        CASE 0:20-cv-01630-JRT-BRT Doc. 34 Filed 10/01/20 Page 4 of 4




                                   CHRIS EVANS FIRM LLC

Dated: September 30, 2020          By /s/ Christopher L. Evans
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